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                      IN THE UNITED STATES DISTRICT COURT
                                                                                 FILED
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION                                        DEC272U8(?

GEORGE MOORE,
                                                                                'LEH,?UtBBiR[Yl8il*,
       Plaintif[,                                       Case No.

v.
                                                         1:l&cv4E4E0
UNIFIED CARING ASSOCIATION and                           Judge Jorge L. Alonso
VICTORIA DAMONE a.k.a. WCTORIA                           Magietrate Judge Youry B. Kim
cooPER"

       Defendants.



                                              COMPLAINT

Plaintiff George Moore states   as   follows for his complaint against Unified Caring Association

and Victoria Damone a.k.a. Victoria Cooper:


                                            Nature of the Case

       l.      This action arises out of the Defendants' repeated violations of, inter alia,the

Telephone Consumer Protection Act,47 U.S.C. 5227, et seq. ("TCPA"), and the Illinois

Automatic Telephone Dialers Act, 815 ILCS 305, et seq. ("ATDA").

       2.      This case involves     a   telemarketing campaign by Defendant Unified Caring

Association to market their services through the use of autodialed prerecorded messages in

violation of the TCPA and ATDA.

       3.      Mr. Moore never consented to receive these calls. In fact, Mr. Moore registered

his telephone number in 2003 on the National Do Not Call Registry where       it remains.

                                                 PARTMS

               PlaintiffGeorge Moore is a natural person and resident of Illinois in this District.
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          5.    Defendant Unified Caring Association (*UCA") is an Arizona Corporation that

has its principal offrce in Mount Shasta, California and a registered agent of Corporate Creations

Network Inc., 350 S. Northwest Highway #300, Park Ridge, IL 60068. UCA places

telemarketing calls into this District, as it did with the Plaintiff.

          6.    Defendant Victoria Damone a.k.a. Victoria Cooper is a natural person and

resident of the State of California. She is an officer of UCA and its president.

                                     JURISDICTION & VENUE

          7.    The Court has federal question subject matter jurisdiction over these TCPA

claims.

          8.    The Court has supplemental jurisdiction over these ATDA claims pursuant to 28

U.S.C. $ 1367, since they form part of the same case and arise from the same set of facts.

          9.    Venue is proper pursuant to 28 U.S.C. $ 1391(b)(1) and (2) because Defendant

UCA is a resident of this district, and because the Plaintiffis      a resident   of this district, which is

where he received the illegal telemarketing calls that are the subject of this lawsuit.

                                        TCPA BACKGROUND

          10.   In 1991, Congress     enacted the TCPA to regulate the explosive growth of the

telemarketing industry. In so doing, Congress recognized that "[u]nrestricted telemarketirg . . .

can be an intrusive invasion of privacy    [.]" Telephone Consumer Protection           Act of 1991, Pub. L.

No. 102-243,    $   2(5) (1991) (codified at 47 U.S.C.   S   227).

The TCPA Prohibits Automated Telemarketing Calls

          11.   The TCPA makes it unlawful "to initiate any telephone call to any residential

telephone line using an artificial or prerecorded voice to deliver a message without the prior

express consent of the called party, unless the call is initiated for emergency purposes." See           4"1


u s.c. $ 227(bxl)(B)
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         12.     The TCPA provides a private cause of action to persons who receive such calls.

See 47   U.S.C. $ 227(b)(3).

         13.     According to findings by the Federal Communication Commission ("FCC"), the

agency Congress vested with authority to issue regulations implementing the TCPA5 such calls

are prohibited because, as Congress found, automated or prerecorded telephone calls are a

greater nuisance and invasion of privacy than live solicitation calls, and such calls can be costly

and inconvenient.

         14.     In2013, the FCC required prior express written consent for all autodialed or

prerecorded telemarketing calls ("robocalls") to wireless numbers and residential lines.

Specifically, it ordered that:

         [A] consumer's written consent to receive telemarketing robocalls must be signed
         and be suffrcient to show that the consumer: (l) received "clear and conspicuous
         disclosure" of the consequences of providing the requested consent, i.e., that the
         consumer will receive future calls that deliver prerecorded messages by or on
         behalf of a specific seller; and (2) having received this information, agrees
         unambiguously to receive such calls at a telephone number the consumer
         designates.[] In addition, the written agreement must be obtained "without
         requiring, directly or indirectly, that the agreement be executed as a condition   of
         purchasing any good or service.[]"

In the Matter   of Rules & Regulations Implementing the Tel. Consamer Prot. Act of 1991,27 BCC

Rcd 1830, 1844 (2012) (footnotes omitted).

The National Do Not Call Registry

         15.     The National Do Not Call Registry allows consumers to register their telephone

numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.

See 47 C.F.R. $ 64.1200(c)(2).   A listing on the Registry "must be honored indefinitely, or until

the registration is cancelled by the consumer or the telephone number is removed by the database

administrator." Id.
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        16.     The TCPA and implementing regulations prohibit the initiation of telephone

solicitations to residential telephone subscribers to the Registry. 47 U.S.C. $ 227(c);47 C.F.R.

$ 6a.1200(cX2).

        17.     A person whose number is on the Registry, and who has received more than one

telephone call within any twelve-month period by or on behalf of the same entity in violation         of

the TCPA5 can sue the violator and seek statutory damages. 47 U.S.C. $ 227(c)(5).

                                        ATDA BACKGROUNI)

        18.     In 1991, the Illinois General Assembly     enacted the   ATDA to regulate the use of

autodialers, in response to many complaints received by the Attorney General's ofiice.

Automatic Telephone Dialers Act (codified at 815       lll. Comp. Stat. 305/1,   et seq.)

        19.     As amended in 2013, the ATDA provides for treble actual damages, statutory

damages of $500 per violation, and costs. 815 ILCS 305/30(c)-(c-5).

The ATDA Prohibits Automated Telemarketing Calls

        20.     The ATDA prohibits "play[ing] a prerecorded message placed by an autodialer

without the consent of the called party." 815 ILCS 305/30(b).

        21.     Under the ATDA" an "autodialef' or "autodialer system" is defined as "any

telephone dialing or accessing device, machine, computer or system capable of storing telephone

numbers which is programmed to sequentially or randomly access the stored telephone numbers

in order to automatically connect   a   telephone with a recorded message[.]" 815 ILCS 305/5(a).1

                                    FACTUAL ALLEGATIONS

        22.     On or about July 6, 2003, Plaintiffregistered his residential telephone number,

(630) 510-)OOO( on the National Do Not Call Registry.


t The
      term "autodialer" or "autodialer system" does not include "device[s] associated with a burglar alarm
system, voice message system or fire alarm system." 815 ILCS 305/5(a).
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        23.     Plaintiffhas never removed his residential telephone number from the Registry.

        24.      On November    2,3,9   and 30,2017 and December 4, 6 and 9, 2017,       Plaintiff

received telemarketing calls from caller ID number (224) 339-5988.

        25.      When Plaintiffanswered the calls, he heard a prerecorded message.

        26.      The purpose of these calls was to sell UCA's goods and services.

        27.      When the Plaintiffpressed the number     I   on his telephone at the end of the

prerecorded message, he became connected with a representative who identified himself as a

member of the "health registration department".

        28.      In orderto discover the identity ofthe calling party, the Plaintifflistened to the

telemarketing pitch. However, he did not authorize any purchase, choosing instead to hang up

while on hold to be connected with UCA's verification department.

        29.      Nevertheless, UCA proceeded to enroll the Plaintiffin a membership plan           of

theirs called "Perennial Care", with a monthly fee of $239.90, as the Plaintiff subsequently

learned in an e-mail he received from "Member Services".

        30.      After learning about the transaction the Plaintiffhad not authoized, he contacted

UC,\ who confirmed having       record of the enrollment but denied knowledge as to the identity        of

the party that initiated it.

        31.      UCA delivers membership materials to its members through an online fulfillment

website.

        32.      In orderto further investigate, the Plaintiff gained access to the website.

        33.      A letter found on the website states that the Plaintiffpurchased "a brand of

membership in the Unified Caring Association" with monthly fee of $239.90.

        34.      The letter also states Plaintiff s member ID number as CFIP905321I.
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         35.    Plaintiffhas been injured by the acts of the Defendants because his privacy has

been violated and he was subjected to annoying and harassing calls that constitute a nuisance.

Plaintiffwas also temporarily deprived of legitimate use of his phone because the phone line was

tied up by the illegal calls.

         36.    Plaintiffdid not provide his prior express written consent for the Defendants to

place telemarketing calls to him.


            DEFENDAI{TS' LIABILITY FOR THE TELEMARKETING CALLS

         37.    UCA is directly liable for the telemarketing calls made by its registration

department.

         38.    Alternatively, UCA is vicariously liable for the telemarketing calls that third

parties made on its behalf, as set forth in the following paragraphs.

         39.    UCA is a "person", as definedby a7 U.S.C. $ 153(39).

         40.    The Federal Communication Commission ("FCC") is tasked with promulgating

rules and orders related to enforcement of the TCPA. See 47 U.S.C. 227(b)(2).

         41.    The FCC has explained that its "rules generally establish that the party on whose

behalf a solicitation is made bears ultimate responsibility for any violations." See In re Rules &

Regulations Implementing the TCPA, CC Docket No. 92-90, Memorandum Opinion and Order,

10 FCC   Rcd   12391   ,12397 (fl 13) (199s).

        42.     In their January 4,2OOg ruling, the FCC reiterated that a company on whose

behalf a telephone call is made bears the responsibility for any violations.      Id   (specifically

recognizing "on behalf     of' liability   in the context of an autodialed or prerecorded message call

sent to a consumer by a    third party on another entity's behalf under 47 U.S.C. 5 227(b)).




                                                       6
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        43.    On May 9,2013, the FCC confirmed this principle in a Declaratory Ruling

holding that sellers such as UCA may not avoid liability by outsourcing telemarketing:

       [A]llowing the seller to avoid potential liability by outsourcing its telemarketing
       activities to unsupervised third parties would leave consumers in many cases
       without an effective remedy for telemarketing intrusions. This would particularly
       be so if the telemarketers were judgment proo{ unidentifiable, or located outside
       the United States, as is often the case. Even where third-party telemarketers are
       identifiable, solvent, and amenable to judgment limiting liability to the
       telemarketer that physically places the call would make enforcement in many
       cases substantially more expensive and less efficient, since consumers (or law
       enforcement agencies) would be required to sue each marketer separately in order
       to obtain effective relief As the FTC noted, because "[s]ellers may have
       thousands of independent' marketers, suing one or a few of them is unlikely to
       make a substantive difference for consumer privacy.

May 201j FCC Ruling,28 FCC Rcd at 6588 (1137) (internal citations omitted).

        44.    More specifically, the May 2013 FCC Ruling held that, even in the absence of

evidence of a formal contractual relationship between the seller and the telemarketer, a seller is

liable for telemarketing calls if the telemarketer "has apparent (if not actual) authority" to make

the calls. 28 FCC Rcd at 6586 (1[34).

        45.    The May 2013 FCC Ruling rejected a narrow view of TCPA liability, including

the assertion that a seller's liability requires a finding of formal agency and immediate direction

and control over the third-party who placed the telemarketing   call.   Id   at 6587 n. 107.

        46.    The May 2013 FCC Ruling further clarifies the circumstances under which a

telemarketer has apparent authority:

       [A]pparent authority may be supported by evidence that the seller allows the
       outside sales entity access to information and systems that normally would be
       within the seller's exclusive control, including: access to detailed information
       regarding the nature and pricing of the seller's products and services or to the
       seller's customer information. The ability by the outside sales entity to enter
       consumer information into the seller's sales or customer systems, as well as the
       authority to use the seller's trade name, trademark and service mark may also be
       relevant.

28 FCC Rcd at 6s92    (n4q.
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        47.       UCA is legally responsible for ensuring that the party that made the calls

complied with the TCPA and ATDA' even if UCA did not itself make the calls.

       48.        UCA knowingly and actively accepted business that originated through the illegal

telemarketing calls from the party that made the calls.

        49.       Moreover, UCA maintained interim control over the actions of the party that

made the calls.

       50.        For example, UCA had absolute control over whether, and under what

circumstances, it would accept a customer.

       51.        Furthermore, UCA had day-to-day control over the actions of the party that made

the calls, including the ability to prohibit it from using prerecorded messages to contact potential

customers of UCA and calling phone numbers registered onthe National Do Not Call Registry.

        52.       Additionally, UCA restricted the states in which the party that made the calls

could sell certain types of UCA memberships.

        53.       Moreover, UCA instructed the party that made the calls to transfer the called

parties to a third-party verification company UCA had hired to complete the process of signing

up a customer for their membership program.

        54.       In fact, UCA allowed their vendors to bind them in contract following an illegal

telemarketing call, as they did in connection with the Plaintiff.

        55.       Finally, the May 2013 FCC Ruling states that called parties may obtain "evidence

of these kinds of relationships . . . through discovery, if they are not independently privy to such

information." Id. at 6592-593 (1146). Moreover, widence of circumstances pointing to apparent

authority on behalf of the telemarketer "should be suffrcient to place upon the seller the burden
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of demonstrating that a reasonable consumer would not sensibly assume that the telemarketer

was acting as the seller's authorized agent."    Id   at6593 (fl 46).

Ms. Damone's Liability for the Telemarketing Calls

        56.      At all relevant times, Defendant Ms. Damone directed the day-to-day activities of

UCA   as the company's president.


        57.      When considering individual offrcer liability, other Courts have agreed that a

corporate officer involved in the telemarketing at issue may be personally liable under the

TCPA. See, e.g-, Jacl<son Five Star Catering, Inc. v. Beason,20l3 U.S. Dist. LEKS 159985,

* 10 (E.D.   Mich. Nov. 8, 2013) ("[M]any courts have held that corporate actors can be

individually liable for violating the TCPA "where they 'had direct, personal participation in or

personally authorized the conduct found to have violated the statute."'); Maryland v. Universal

Elections,787    F.   Supp. 2d 408, 4T5-16 (D. Md.    201l) ("If an individual acting on behalf of   a


corporation could avoid individual liability, the TCPA would lose much of its force.").

        58.      Ms. Damone is personally liable under the "participation theory" of liability

because she was the controlling officer of UCA and knew of and authorized the telemarketing

conduct that is the subject of this Complaint.

                                 COUNT I
        YIOLATION OF THE TCPA'S AUTOMATED TELEMARI(ETING CALL
                               PRO\[SIONS

        59.      Plaintiffincorporates the allegations from all previous paragraphs as if fully set

forth herein.

        60.      The Defendants violated the TCPA by (a) initiating telephone solicitations to the

Plaintiff s residential line using   a prerecorded message, or (b) by the fact that others made those

calls on their behalf. See 47 U.S.C. $ 227(b);47 C.F.R. $ 6a.1200(a)(3).
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         61.    The Defendants'violations were willful and/or knowing.

                                   COUNT tr
                VIOLATION OF THE TCPA'S DO NOT CALL PROVISIONS

         62.    Plaintiffincorporates the allegations from all previous paragraphs as if fully set

forth herein.

         63.    The Defendants violated the TCPA by (a) initiating telephone solicitations to the

Plaintiff s telephone number that is listed on the Do Not Call Registry, or (b)    bV the fact that


others made those calls on their behalf. See 47 U.S.C. $ 227(c);47 C.F.R. $ 6a.1200(c)(2).

         64.    The Defendants' violations were willful and/or knowing.

                                               COUNT      Itr
         YIOLATION OF THE ATDA'S AUTOMATED TELEMARI(ETING CALL
                                              PROVISIONS

         65.    Plaintiffincorporates the allegations from all previous paragraphs as if fully set

forth herein.

         66.    The Defendants violated the ATDA by (a) playing prerecorded messages placed

by an autodialer to the Plaintiffs residential line, or (b) bV the fact that others made those calls

ontheir behalf. See 815 ILCS 305/300).

                                        PRAYER TOR RELIEF

         WHEREFORE, the Plaintiff respectfully prays that judgment be awarded in Plaintiffs

favor and against the Defendants, jointly and severally, as follows:

         A.     Because of the Defendants'      willful andlor knowing violations of 47 U.S.C.

$   227(bxl), treble damages,   as   provided by statutg of up to $1,500 for every call that violated

the TCPA;

         B.     Because of Defendants' statutory violations of 47 U.S.C . $ 227(b), $500 in

statutory damages for every call that violated the TCPA;



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       C.      Because of Defendants'    willful and/or knowing violations of 47 U.S.C . $ 227(c),

treble damages, as provided by statute, of up to $1,500 for every call that violated the TCPA;

       D.      Because of Defendants' statutory violations of 47 U.S.C . $ 227(c), $500 in

statutory damages for every call that violated the TCPA;

       E.      Because of Defendants' statutory violations of 815 ILCS 305130(b), $500 in

statutory damages for every call that violated the ATDA;

       F.      Costs of suit;

       G.      Such other relief as the Court deems just and proper.

       Plaintiff requests a jury trial   as   to all claims of the complaint so triable.


       RESPECTFULLY SUBMTTED,

                                                 GEORGE MOORE,
                                                 Pro Se


       DATED: December          26,2018 ny, &ZC-                          t*o.ol.p-
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